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Federal Public Defender                                         Assistant Federal Public Defender


                                        January 21, 2025

Nwamaka Anowi, Clerk
U.S. Court of Appeals for the Fourth Circuit
1100 E. Main Street, Suite 501
Richmond, VA 23219

       Re:     United States v. Okello T. Chatrie, No. 22-4489 (argument scheduled for
               January 30, 2025), Letter Under Fed. R. App. P. 28(j)

Dear Ms. Anowi:

       Appellant Chatrie notifies the Court that on January 14, 2025, the Fifth Circuit Court of
Appeals denied the government’s petition for rehearing en banc in United States v. Smith. Ex. 1,
Opinion on Petition for Rehearing En Banc, No. 23-60321 (5th Cir. Jan. 14, 2025). Smith is a
geofence case, like Chatrie, involving a similar constitutional challenge to the warrant.

        The Fifth Circuit panel found that individuals have an expectation of privacy in their
Google Location History data and held that “geofence warrants are modern-day general
warrants” that are unconstitutional under the Fourth Amendment. United States v. Smith, 110
F.4th 817, 840 (5th Cir. 2024). The government petitioned for rehearing and Mr. Smith filed a
response at the court’s direction. No judge requested that the court be polled, and the Fifth
Circuit denied the petition.

        Appellant Chatrie also notifies the Court that X Corp. (formerly Twitter) filed an amicus
brief in support of Mr. Smith’s opposition to rehearing, arguing that Carpenter extends to
geofence warrants and that “‘third parties’ like Google and X . . . should not be coerced into
helping governments undermine [their] users’ privacy and property rights through an end run
around the Fourth Amendment.” Ex. 2, Amicus Br. of X Corp. at 4, United States v. Smith, No.
23-60321 (5th Cir. Dec. 31, 2024).

      Finally, Appellant Chatrie notifies the Court that the government, in response to a post-
argument inquiry in Smith, conferred with Google to provide an update on the changes that the
company has made to the way Location History data is stored. Ex. 3, Gov. Br. at 3, United States


                                                1
v. Smith, No. 23-60321 (5th Cir. Apr. 18, 2024). The government stated that, as of April 2024, it
is “still seeking geofences,” but that “the migration of Location History from Google’s servers to
users’ devices has been underway for the past several months, and Google currently anticipates
that this migration will be complete within the next several months.” Id. Accordingly, “[o]nce
this migration is complete, Google states that it will be unable to respond to geofence warrants.”
Id.

                                                     Respectfully,

                                                               /s.
                                                     Laura J. Koenig
                                                     Assistant Federal Public Defender

                                                                /s.
                                                     Michael Price
                                                     Litigation Director
                                                     NACDL Fourth Amendment Center




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        United States Court of Appeals
             for the Fifth Circuit
                                                             United States Court of Appeals
                                                                      Fifth Circuit


                             No. 23-60321                           FILED
                                                             January 14, 2025
                                                                 Lyle W. Cayce
United States of America,                                             Clerk

                                                        Plaintiff      Appellee,

                                 versus

Jamarr Smith; Thomas Iroko Ayodele; Gilbert
McThunel, II,

                                                    Defendants      Appellants.


              Appeal from the United States District Court
                for the Northern District of Mississippi
                       USDC No. 3:21-CR-107-1


          ON PETITION FOR REHEARING EN BANC

Before King, Ho, and Engelhardt, Circuit Judges.
Per Curiam:
      Treating the petition for rehearing en banc as a petition for panel
rehearing (5th Cir. R. 35 I.O.P.), the petition for panel rehearing is
DENIED. Because no member of the panel or judge in regular active
service requested that the court be polled on rehearing en banc (Fed. R.
App. P. 35 and 5th Cir. R. 35), the petition for rehearing en banc is
DENIED.
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                            January 14, 2025
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-60321     USA v. Smith
                       USDC No. 3:21-CR-107-1

Enclosed is an order entered in this case.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
Mr. Paul Alvin Chiniche
Mr. David Crews
Mr. Nathan Paul Judish
Mr. Goodloe Tankersley Lewis
Mr. Robert Bruce McDuff
Mr. Clyde McGee IV
Mr. Mark Miller
Mr. Robert J. Mims
Mr. Michael William Price
Mr. William Farley Travis
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                        _________________________
                             No. 23-60321
                        _________________________

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                        _________________________

                   UNITED STATES OF AMERICA,
                          Plaintiff - Appellee,

                                   v.

        JAMARR SMITH, THOMAS IROKO AYODELE, AND
                 GILBERT MCTHUNEL, II,
                       Defendants - Appellants.
                        _________________________

           On Appeal from the United States District Court
          for the Northern District of Mississippi (Aycock, J.)
                           No. 3:21-CR-107
                      _________________________
                BRIEF AMICUS CURIAE OF
    X CORP. IN SUPPORT OF DEFENDANTS-APPELLANTS
                  _________________________

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                  Counsel for Amicus Curiae X Corp.
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            CERTIFICATE OF INTERESTED PERSONS

                               No. 23-60321

            United States of America v. Jamarr Smith, et al.

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1

have an interest in the outcome of this case. These representations are

made so that the judges of this Court may evaluate possible

disqualification or recusal.

     1. Plaintiff-Appellee United States of America.

     2. Defendant-Appellant Jamarr Smith.

     3. Defendant-Appellant Thomas Iroko Ayodele.

     4. Defendant-Appellant Gilbert McThunel, II.

     5. United States District Judge Hon. Sharion Aycock.

     6. Amicus Curiae X Corp., which is owned by parent X Holdings

        Corp. No publicly held company owns 10% or more of its stock.




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     7. The following law firms and counsel have participated in the

case, either in the district court or on appeal:

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         STATEMENT OF INTEREST OF AMICUS CURIAE1

      “Awareness that the government may be watching chills

associational and expressive freedoms.” United States v. Jones, 565 U.S.

400, 416 (2012) (Sotomayor, J., concurring). X Corp. (“X”), an American

technology company headquartered in Bastrop, Texas, strives to protect

the associational and expressive freedoms of users of its real-time

information-sharing app. X understands that this means also ensuring

its users’ Fourth Amendment rights are respected regarding the data X

collects and processes.

      While providing services to users, X collects, processes, and stores

multiple classes of data which might be subject to “reverse searches” by

law enforcement, including location data.2 X believes contractual

promises, like those it makes in its Terms of Service, should be recognized

as relevant to the Fourth Amendment protection its users’ data receives.




1 This brief is submitted under Federal Rule of Appellate Procedure 29(b) with the

consent of all parties. Undersigned counsel for Amicus Curiae certifies that this brief
was not authored in whole or part by counsel for any of the parties; no party or party’s
counsel contributed money for the brief; and no one other than Amicus and their
counsel has contributed money for this brief.
2 X may infer the location of its users using multiple signals, including the user-

specified location, the user’s IP address, and—for the subset of users who consent—
device-provided location data like that at issue in the instant case.


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                        INTRODUCTION
                  AND SUMMARY OF ARGUMENT

      In its petition for rehearing, the government argues the Panel’s

holding “was an undue expansion” of the Supreme Court’s holding in

Carpenter v. United States, 585 U.S. 296 (2018). See Pet. for Reh’g at 7–

8. On the government’s view, the third-party doctrine applies in this case,

and therefore the Fourth Amendment was not implicated when (1)

appellants shared their locations with “third-party” Google, and then (2)

Google shared that information with the government. See id. at 7–12. The

government is wrong; the Panel’s decision correctly interprets and

applies the limitations of the third-party doctrine established in

Carpenter. See United States v. Smith, 110 F.4th 817, 834, 836 (5th Cir.

2024) (“Carpenter’s application to the third-party doctrine in this case is

straightforward . . . per Carpenter, the third-party doctrine does not

apply.”).

      Nevertheless, disagreements about the application of the third-

party doctrine post-Carpenter do not surprise. As Justice Gorsuch noted,

the Carpenter majority left lower courts “two amorphous balancing tests,

a series of weighty and incommensurable principles to consider in them,




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and a few illustrative examples.” Carpenter, 585 U.S. at 397 (Gorsuch, J.,

dissenting).

      The first test is the infamous Katz “reasonable expectation of

privacy” test. See Katz v. United States, 389 U.S. 347, 360 (1967) (Harlan,

J., concurring). The second is new, formulated by a Carpenter majority

evidently reluctant to further extend the third-party doctrine—

previously extended in the 1970s cases Smith 3 and Miller 4—to its logical

extreme. Narrowing those cases’ holdings, the Carpenter majority

established “a second Katz-like balancing inquiry, asking whether the

fact of disclosure to a third party outweighs privacy interests in the

‘category of information’ so disclosed.” Carpenter, 585 U.S. at 397

(Gorsuch, J., dissenting, citing majority).

      As a result, judges are left asking: How long is the “long term” to

which data must correspond before an expectation of privacy in it

becomes “reasonable”? How “sensitive” must the data be? How

“intrusive” the invasion? How “voluntary” must the sharing be to

outweigh other “reasonableness” factors? See Pet. for Reh’g at 8–9




3 Smith v. Maryland, 442 U.S. 735 (1979).
4 United States v. Miller, 425 U.S. 435 (1976).




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(arguing three voluntariness factors from Carpenter are inapplicable to

Google geofence warrants).        Should courts focus on “capabilities” of

technology, or look only at “results,” of the data shared in each case? And

so on.

     Besides causing judicial headaches, the third-party doctrine

enables government to gather rafts of information without first obtaining

a warrant based on probable cause and particularized suspicion. This

undermines property rights and privacy—necessary for enjoying

associational and expressive freedoms—and contradicts the Founders’

understanding of our Fourth Amendment protections. See William J.

Cuddihy, The Fourth Amendment: Origins and Original Meanings 602-

1791 776 (Oxford Univ. Press 2009) (“[individualized warrants]

preponderated as the orthodox protocol of search and seizure in 1791”)

(citation omitted).

     Moreover, it prevents “third parties” like Google and X from acting

according to their own judgment in relation to both government and their

users. X believes it should not be coerced into helping governments

undermine its users’ privacy and property rights through an end run

around the Fourth Amendment.



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     This amicus brief urges this Court to either deny en banc review or,

should it grant review, to ultimately affirm the Panel’s holding regarding

the third-party doctrine. Should the Court choose the latter path, it

should clarify this area of constitutional law by tethering its decision to

the Fourth Amendment’s original meaning: all searches of private

property require warrants based on probable cause and particularized

suspicion, Jones, 565 U.S. at 404–10 (holding a search occurred when

government obtained information by trespassing on a constitutionally

protected “effect”), and a search occurs when government accesses

“houses, papers, [or] effects,” U.S. Const. amend. IV, that belong to a

person under the law. Byrd v. United States, 584 U.S. 395, 403–04 (2018)

(“[Katz] supplements, rather than displaces, the traditional property-

based understanding of the Fourth Amendment.”) (internal citation and

quotation omitted).

     On this view—and even on an alternative originalist view centering

on the Amendment’s promise that searches and seizures be “reasonable,”

see Akhil Reed Amar, Fourth Amendment First Principles, 107 Harv. L.

Rev. 757 (1994)—this connection is achieved by recourse to the common

law. Cases involving “reverse searches” of data held by third parties



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should be viewed through the lens of the common law of contract as

understood by our Founders. See Lange v. California, 594 U.S. 295, 309

(2021) (noting the common law may be instructive as to what sort of

searches the Founders would consider reasonable, and the Fourth

Amendment must be interpreted to “provide at a minimum the degree of

protection it afforded when it was adopted” (internal citations and

quotations omitted)). This approach will provide a clear, bright-line

rationale for limiting the third-party doctrine’s scope in a manner both

consistent with Carpenter and appropriate for our technological age.

                             ARGUMENT

I.   The Third-Party Doctrine Originated in “Secret Agent
     Cases,” Cases the Common Law Would Address Under the
     Doctrine of Illegal Contract. This Explains Why There Was
     No “Reasonable Expectation of Privacy” in Those Cases

     The third-party doctrine in its undiluted form says the Fourth

Amendment is not implicated when: (1) you share information with a

third party—for example, your bank, your phone company, Google, or X

—even for a limited purpose; and (2) the third party then shares the

information with the government. Orin S. Kerr, The Case for the Third-

Party Doctrine, 107 Mich. L. Rev. 561, 563 (2009). It is important,

however, to recall the historical underpinnings of the doctrine to



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understand its appropriate scope. The genesis of the doctrine is a series

of “secret agent” cases involving criminal organizations. Id. at 567–68.

Think of Tony Soprano divulging information about his illegal businesses

to a “business associate” turned government informant, and a prosecutor

using the informant’s disclosures to indict and convict Soprano. But then,

in the 1970s in Smith and Miller, the scope of the doctrine was expanded

to apply not only to mafia dons, but also to any ordinary, innocent citizen

who shares information with third parties, whether while doing business,

or simply enjoying life.

      Alarm bells did not ring immediately. Back then we shared

exponentially less information with third parties than we do today. But

the digital age brought about a new set of alarming consequences the

Warren Court could never have anticipated. In 2013 the world learned,

for example, that the National Security Agency had continuously

collected phone record metadata of all Verizon customers for several

years.5 Attempts to chisel away at the third-party doctrine followed, but

without overturning Smith and Miller outright. Carpenter, with its



5 See Glenn Greenwald, NSA collecting phone records of millions of Verizon customers

daily, The Guardian (June 6, 2013), htttp://www.theguardian.com/world/
2013/jun/06/nsa-phone-records-verizon-court-order.


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unwieldy balancing test, is a prime example. Still, Carpenter’s holding is

consistent with the original meaning and protections of the Fourth

Amendment and, when applied correctly, requires finding a Fourth

Amendment violation here. Amicus X believes this Court, in ruling on

this issue, should distinguish Smith and Miller, both of which failed to

justify the third-party doctrine in its undiluted form.

     Justification is due because, although few would expect to retain a

legitimate expectation of privacy when they entrust information to

confederates in criminal activity, the same cannot be said of ordinary

individuals sharing information with service providers in their daily

lives. The distinction lies in the common-law doctrine of illegal contract,

which deems unenforceable any agreement made intentionally to achieve

an illegal end. See 5 Samuel Williston & Richard A. Lord, A Treatise on

the Law of Contracts § 12:1 (4th ed. 2009).

     If Tony Soprano makes an “arrangement” with a “business

associate,” any collateral promises are unenforceable, including promises

to keep it a secret. But terms of service agreements between users and

Google or X would not be deemed illegal contracts, merely because some

users might be subject to government investigation. Accordingly,



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promises made to users by these companies are enforceable under

common law, just as records entrusted to a bailee still belong to the

bailor. Carpenter, 585 U.S. at 399 (Gorsuch, J., dissenting). Both users

and bailors retain privacy and property interests entitled to Fourth

Amendment protection. Nothing less is “reasonable.” See Amy L. Peikoff,

Of Third-Party Bathwater: How to Throw Out the Third-Party Doctrine

While Preserving Government’s Ability to Use Secret Agents, 88 St. John’s

L. Rev. 349, 374–76 (2014); Cristina Del Rosso & Carol M. Bast,

Protecting Online Privacy in the Digital Age: Carpenter v. United States

and the Fourth Amendment’s Third-Party Doctrine, 28 Cath. U. J. L. &

Tech. 89, 95–96 (2020) (“the third-party doctrine enables the . . .

government to engage in surveillance and monitoring of one’s daily life,

similar to the general warrant that the Fourth Amendment ultimately

intended to prevent.”) (citation omitted).

II.   The Common Law of Contract Traditionally Protected
      Privacy, and So Is a Proper Lens Through Which to Analyze
      the Third-Party Doctrine

      “The Right to Privacy,”6 written by future Supreme Court justice

Louis Brandeis and partner Samuel Warren, has been credited with


6 Louis D. Brandeis & Samuel D. Warren, The Right to Privacy, 4 Harv. L. Rev. 193

(1890).


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giving rise to a distinct “right of privacy.” See, e.g., John W. Wade et al.,

Prosser, Wade and Schwartz’s Cases and Materials on Torts 947 (The

Foundation Press 1994). In their article, they argued that existing laws

protecting rights to property and contract, or defending against breaches

of trust or confidence, did not adequately protect privacy when new

technologies made possible invasions of another’s privacy, without

committing physical trespass, without privity of contract, and without

any relationship of trust or confidence. Brandeis & Warren, The Right to

Privacy, 4 Harv. L. Rev. at 213.

     Once courts began recognizing this “right to privacy,” however, pre-

existing legal protections for privacy seemed to be gradually eroded or

forgotten. By the late 1960s, an individual’s enjoyment of privacy vis-à-

vis government was held in Katz to depend on a judge finding one had a

“reasonable expectation of privacy.” Katz, 389 U. S. at 360 (Harlan, J.,

concurring).

     Justice Antonin Scalia reversed this trend, reminding us in United

States v. Jones, 565 U.S. 400 (2012), that the Katz privacy test was

“added to, not substituted for, the common-law trespassory test.” Id. at

409. We unfortunately cannot know how he would have ruled in



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Carpenter. And while some Justices searched in Carpenter for an interest

to justify finding the relevant data was Carpenter’s, whether a contract

might be sufficient did not arise on the facts of that case. 7 Amicus X

invites this Court to consider Appellants’ rights under their contracts

with Google as relevant to the Fourth Amendment protection their

location data deserves, not only because the doctrine of illegal contract

helps us better understand the third-party doctrine, but also because the




7 Each of the dissenting Justices who believed Carpenter presented no Fourth
Amendment violation further inquired into whether petitioner Carpenter possessed
a property interest in the data at issue.
Justice Kennedy found Carpenter did not own, create, or control the records at issue
and therefore a subpoena sufficed. Carpenter, 585 U.S. at 329–30 (Kennedy, J.,
dissenting). Justice Thomas said the issue was not “‘whether’ a search occurred,” but
rather “whose property was searched.” Id. at 342 (Thomas, J., dissenting). However,
“[n]either the terms of [the] contracts nor any provision of law makes the records
[Carpenter’s].” Id. Thomas noted Carpenter argued based on statute, not “property,
tort, or contract law.” Id. at 354. Justice Alito wrote, “Carpenter indisputably lacks
any meaningful property-based connection to the cell-site records. . . .” Id. at 384
(Alito, J., dissenting).
Justice Gorsuch found a statutory basis for Carpenter’s cell-site records to “qualify as
his papers or effects under existing law.” Id. at 405 (Gorsuch, J., dissenting). “Those
interests,” he continued, “might even rise to the level of a property right.” Id. at 406.
Nonetheless, Gorsuch dissented because Carpenter failed to “invoke the law of
property or any analogies to the common law.” Id.; see also id. at 399 (“[e]ntrusting
your stuff to others is a bailment [a type of contract] . . .[a] bailee normally owes a
legal duty [to the bailor] to keep [your stuff] safe, according to the terms of the parties’
contract” express or implied.). Fourth Amendment rights are not extinguished when
entrusting your documents to a third party; rather, “[t]hese ancient principles”
protect your interests, even in digital records. Id. at 400.



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common law of contract as understood by the Founders helps clarify the

baseline that the Fourth Amendment protects. Lange, 594 U.S. at 309.

III. This Approach Makes It Possible to Limit the Third-Party
     Doctrine’s       Application    Without    Resorting   to
     “Balancing . . . Weighty or Incommensurate Principles”

     The common law of contract provides a principled reason, rooted in

our legal traditions, to limit the third-party doctrine’s application—and

to thereby stop treating ordinary business relationships as criminal

enterprises.

     Contracts between users and companies like Google and X are

enforceable under common law. When their terms include a promise to

protect a user’s data, that promise should not be terminable by

government fiat. The law should recognize such contracts as legitimate

means for protecting one’s property and privacy. As Justice Sotomayor

writes regarding one “weighty or incommensurable principle[]” courts

must “balance” post-Carpenter, “it may be necessary to reconsider the

premise that an individual has no reasonable expectation of privacy in

information voluntarily disclosed to third parties.” Jones, 565 U.S. at 417

(Sotomayor, J., concurring) (emphasis added). What should matter for

Fourth Amendment purposes is not solely whether sharing is voluntary,




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but also how the common law views the context in which the sharing

occurs—including whether the parties’ agreement protects the user’s

right to the information at issue.

                             CONCLUSION

     The Panel correctly held that Appellants’ Fourth Amendment

rights were violated; if the Court elects to rehear the case, then it should

reach the same conclusion. In doing so, adopting this brief’s argument

would help return the third-party doctrine closer to its original, proper

scope. Moreover, it would re-establish the proper relationship between

government and companies like Google and X, which would no longer be

coerced into helping the government violate their users’ rights.

     DATED: December 23, 2024.

                                     Respectfully submitted,

                                     By /s/ Mark Miller
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     DATED: December 23, 2024.

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     I hereby certify that on December 23, 2024, I electronically filed the

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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT

UNITED STATES OF AMERICA, Plaintiff-Appellee


V.                                                             CASE NO: 23-60321

JAMARR SMITH, GILBERT MCTHUNEL, II,
AND THOMAS AYODELE, Defendants-Appellants

 GOVERNMENT/APPELLEE’S RESPONSE TO COURT’S INQUIRY [93]

      Comes now the United States of America, by and through the United States

Attorney and the undersigned Assistant United States Attorney and responds as

follows:

      On April 8, 2024, this Court filed a letter inquiring:

      [W]ill the United States seek geofence warrants in the future? Also,
      please provide an explanation of the changes that Google is making that
      will affect the availability of future geofence warrants.

      Letter from Deputy Clerk, Peter Conners to Counsel for the Appellee, (April

8, 2024). [Docket No. 93].

      The Government has conferred with Google and is prepared to respond.

                              Google Geofence Warrants

      Google, LLC received 982 geofence warrants in 2018, 8,396 geofence

warrants in 2019 and 11,554 geofence warrants in 2020. Zach Whittaker, Google

Says Geofence Warrants Make Up One-quarter of All US Demands, Tech Crunch,
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(Aug. 19, 2021), https://techcrunch.com/2021/08/19/google-geofence-warrants/.

Between 2018 and 2022, approximately 25 percent of all warrants Google received

were geofence warrants. Skye Witley, Google’s Location Data Move Will Reshape

Geofence     Warrant      Use,     Bloomberg            Law    (Dec.     20,      2023),

(https://news.bloomberglaw.com/privacy-and-data-security/googles-location-data-

move-will-reshape-geofence-warrant-use).

      Google uses its Location History information to respond to geofence warrants;

it has stated that Location History information is the only information stored by

Google that is associated with specific users and sufficiently granular to be

responsive to a geofence warrant. ROA.139. On December 12, 2023, Google

announced that it will migrate Location History data from storage in its centralized

database to storage on individual users’ devices. Marlo McGriff, Updates to

Location History and New Controls Coming Soon to Maps, Google Maps Blog (Dec.

12, 2023), https://blog.google/products/maps/updates-to-location-history-and-new-

controls-coming-soon-to-maps/. Users can also choose to backup their location data

on Google’s servers; this backup will be encrypted and not available to Google. Id.

      Currently, the Government is still seeking Google geofences. However,

Google confirmed to the United States this week that once Location History data has

been migrated to a user’s device, it cannot be captured by a geofence warrant.

Google states that the migration of Location History from Google’s servers to users’
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devices has been underway for the past several months, and Google currently

anticipates that this migration will be complete within the next several months. Once

this migration is complete, Google states that it will be unable to respond to geofence

warrants.

                              Other Geofence Warrants

      As this Court asked whether the United States will seek geofence warrants in

the future, the United States notes that it may in the future seek geofence warrants

from sources other than Google. For example, cell tower dumps are essentially a

form of geofence, and in United States v. James, 3 F.4th 1102 (8th Cir. 2021), the

Eighth Circuit held that a series of cell tower dump warrants used to solve a series

of robberies complied with the Fourth Amendment. The Fourth Amendment analysis

applicable to other forms of geofence warrants will likely share much in common

with that of Google geofence warrants, but it will also depend on specific facts and

circumstances associated with the information sought in the other geofence warrants.

 Appellants’ Contentions in its Reply Brief Regarding Google’s Announcement of
                                  the Migration
      The Appellants contend in their reply brief that Google’s migration of

Location History information solidifies their position that this is personal, private

location data protected by the Fourth Amendment. This argument misses the mark.

Appellants had no reasonable expectation of privacy in Google’s records of their


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Location History because they voluntarily conveyed their location to Google in

exchange for receiving the benefits of Google services. Because Google location

service is an opt-in service, Appellants took affirmative steps to disclose their

location information to Google. ROA.134. Moreover, they agreed that Google would

have access to their location information for purposes ranging from providing them

with targeted advertising or assistance with driving directions to Google’s

development of new services. ROA.134; See Google Privacy Policy (available at

https://policies.google.com/privacy/archive/20190122). The fact that Google is now

making major changes to Location History such that users will no longer disclose

their Location History to Google does not retroactively provide users with Fourth

Amendment protection for information that they previously voluntarily disclosed to

Google.




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      For the above-stated reasons, the judgment of the district court should be

affirmed in all respects.

      Respectfully submitted, this the 18th day of April, 2024.

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                          CERTIFICATE OF SERVICE

      I, Clyde McGee IV, Assistant United States Attorney for the Northern District

of Mississippi, hereby certify that I have this day filed this Response to the Court’s

Inquiry with the Court’s CM/ECF filing system which caused an email to be sent

with an electronic link to a true copy of said brief to the following:

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      This the 18th day of April, 2024.


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